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   11                              UNITED STATES DISTRICT COURT
   12               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   13
   14 UNITED STATES OF AMERICA,                         CASE NO. 2:18-cv-8420-RGK-PJWx
   15                     Plaintiff,                    CLAIMANTS’ OPPOSITION TO
                                                        GOVERNMENT’S EX PARTE
   16               vs.                                 APPLICATION (DKT. 136)
   17 $1,546,076.35 IN BANK FUNDS                       Filed concurrently with Declaration of
      SEIZED FROM REPUBLIC BANK                         Whitney Bernstein]
   18 OF ARIZONA ACCOUNT ‘1889,
      et al.,                                           Assigned to Hon. R. Gary Klausner
   19                                                   Courtroom 850
                  Defendants.
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    1                      MEMORANDUM OF POINTS AND AUTHORITIES
    2               Without proper notice as required by this District’s Local Rules and the
    3 Court’s Standing Order, and with no explanation of why ex parte relief might be
    4 justified here, the government impermissibly seeks an ex parte ruling to avoid its
    5 obligation to comply with a Court-ordered briefing schedule. The government
    6 apparently is unaware of the basic procedural requirements that this District and this
    7 Court impose on litigants seeking ex parte relief. On July 10, 2020, the government
    8 stipulated (Dkt. 118) with Claimants to a briefing schedule in connection with
    9 Claimants’ pending motions to dismiss (Dkts. 111 and 112). This Court adopted the
   10 stipulation (Dkt. 119), thereby requiring the government to respond to Claimants’
   11 motions by August 21, 2020. The Court should reject the Application without
   12 reaching the underlying merits and require the government to comply with this
   13 Court’s prior Order.
   14               In any event, the government’s Application lacks merit. The purported basis
   15 for the Application—that the government “intends” to file a motion to strike certain
   16 claims and that it “will take some time” to figure out which assets and claims will be
   17 the subject of its motion—is a non-starter. App. at 3, 7. The government essentially
   18 seeks to avoid responding to pending, dispositive motions because it claims it plans
   19 to file a separate motion over one month from now. That request defies common
   20 sense. There also is no mechanism under Supplemental Rule G or the ordinary rules
   21 of civil procedure that allows for such a result.
   22               Importantly, Supplemental Rule G only requires this Court to “decide” a
   23 motion to strike before ruling on a motion to dismiss—not to stay briefing on the
   24 motion to dismiss. Further, the government’s anticipated motion would only apply
   25 to some small set of claims, but numerous Claimants and their claims to more than
   26 $100 million in assets would not be affected. The mere fact that the government has
   27 consolidated so many forfeiture cases in order to “streamline” these proceedings
   28 does not allow it to delay resolution of Claimants’ motions to dismiss as to claims
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    1 that are unaffected by its anticipated motion to strike.
    2               The government’s application is yet another attempt on its part to delay these
    3 proceedings. This Court should reject the government’s application and hold the
    4 government to this Court’s Order (Dkt. 119), to which the government stipulated.
    5 I.            RELEVANT BACKGROUND
    6               Acting on the theory that all assets and funds of the Claimants, derived from
    7 any source at any time, are subject to forfeiture, the government seized a large
    8 number of assets personally owned by Claimants throughout 2018 (the “Owned
    9 Assets”). The government also seized a large number of assets from Backpage.com
   10 LLC and its affiliates—assets that secured certain obligations owed to Claimants
   11 (the “Liened Assets”). Claimants filed verified claims to the Owned Assets and the
   12 Liened Assets beginning in May 2019. This Court has recognized the validity of
   13 those previously-filed verified claims in this consolidated action. Dkt. 116. The
   14 verified claims asserted the bases for Claimants’ standing, in detail. Nonetheless,
   15 the government served identical, overbroad interrogatories on all Claimants under
   16 Supplemental Rule G, purportedly to assess Claimants’ standing. Declaration of
   17 Whitney Bernstein (“Bernstein Decl.”), Exh. A (an example of one such set of
   18 interrogatories).
   19               Claimants filed motions to dismiss on July 1, 2020. Dkts. 111, 112. The
   20 government did not initially respond to the motions because it had not yet received
   21 interrogatory responses from Claimants. Pursuant to the parties’ stipulation
   22 (Dkt. 118), Claimants responded to the government’s interrogatories by July 31,
   23 2020. The Court’s corresponding Order required the government to respond to
   24 Claimants’ motions to dismiss by August 21, 2020.
   25               More than two weeks after receiving the interrogatory responses and just days
   26 before its responses to the motions to dismiss were due, the government contacted
   27 counsel for Claimant James Larkin and indicated that it intended to contest only
   28 certain Claimants’ standing as to certain of the defendant assets (namely, some yet-
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    1 to-be-identified Liened Assets, i.e., assets collateralizing certain obligations owed to
    2 Claimants, including advancement and indemnification). Bernstein Decl., Exh. B.
    3 The government indicated that its challenge would be limited to only certain of the
    4 Claimants and a subset of the defendant assets. Id. Counsel for Claimant James
    5 Larkin, on behalf of Claimants James Larkin, Michael Lacey, Scott Spear, John
    6 Brunst, and the entities in which they hold ownership interests, repeatedly requested
    7 that the government advise them regarding (a) the defendant asset(s) as to which it
    8 disputes standing, (b) the claimant(s) as to which it plans to assert such a challenge,
    9 and (c) the purported basis for each challenge. Id. The government never provided
   10 this information and never advised Claimants that it planned to file an ex parte
   11 application before attempting to, once again, stall this litigation and avoid
   12 a substantive response to Claimants’ motions to dismiss. Id.
   13 II.           ARGUMENT
   14               A.    The Government’s Ex Parte Application Is Procedurally Improper.
   15               The government made no effort to comply with the ex parte notice
   16 requirements imposed by this District’s Local Rules and this Court’s Standing
   17 Order. Nor does its Application even attempt to address why ex parte relief is
   18 justified here. The Application should be rejected on these bases alone, without
   19 reaching the underlying merits.
   20                     1.     Legal Standard
   21               Local Rule 7-19.1 provides that “[i]t shall be the duty of the attorney so
   22 applying [for ex parte relief] . . . to make reasonable, good faith efforts orally to
   23 advise counsel for all other parties, if known, of the date and substance of the
   24 proposed ex parte application.” This Court’s Standing Order provides that “[t]he
   25 moving party shall serve the opposing party and shall notify the opposition that
   26 opposing papers must be filed not later than 3:00 p.m. on the first business day
   27 following service.”
   28               Further, “[e]x parte applications are permitted solely for extraordinary relief.”
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    1 Thomas v. Thomas Wylde, LLC, No. LACV1704158JAKPJWX, 2017 WL 8236279,
    2 at *1 (C.D. Cal. June 7, 2017). Emergency relief is warranted only where the
    3 moving party presents evidence that its “cause will be irreparably prejudiced if the
    4 underlying motion is heard according to regular noticed motion procedures” and that
    5 it “is without fault in creating the crisis that requires ex parte relief, or that the crisis
    6 occurred as a result of excusable neglect.” Mission Power Eng’g Co. v. Cont’l Cas.
    7 Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995). “Properly designed ex parte motion
    8 papers thus contain two distinct motions or parts. The first part should address
    9 only why the regular noticed motion procedures must be bypassed. The second
   10 part consists of papers identical to those that would be filed to initiate a regular
   11 noticed motion.” Id. (emphasis added). Further, as this Court’s Standing Order
   12 notes, “sanctions may be imposed for misuse of ex parte applications.”
   13                     2.    The Government Failed to Comply with This District’s and
   14                           This Court’s Ex Parte Notice Requirements.
   15               The government utterly failed to comply with the basic ex parte notice
   16 requirements imposed by this District and this Court. AUSA Daniel Boyle merely
   17 noted in an email at 11:07 A.M. on August 18, 2020, that, “[i]n light of the current
   18 briefing schedule deadlines, however, I will need to file an application to suspend
   19 the MTD briefing by later today to give you time to respond and the Court time to
   20 consider the application.” Bernstein Decl., Exh. B. He never indicated that the
   21 government intended to file an ex parte application. Moreover, the government
   22 failed to notify Claimants’ counsel regarding their deadline to respond to the
   23 Application, as is required under this Court’s Standing Order.1
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   25    Further, while the government’s application gave the impression that the
      government conferred with “claimants’ counsel” (Dkt. 136 at 2), to the undersigned
   26 counsel’s knowledge, the government communicated only with Claimant James
   27 Larkin’s counsel, who expressly informed AUSA Boyle that she was
      communicating “only on behalf of Claimants James Larkin, Michael Lacey, Scott
   28 Spear, John Brunst, and their entities after having conferred with their respective
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     1                     3.    The Government Has Not Demonstrated That Emergency
     2                           Relief Is Warranted Here.
     3               The government does not separately address “why the regular noticed motion
     4 procedures must be bypassed” here, i.e., the necessary “first part” of any ex parte
     5 application. Mission Power, 883 F. Supp. at 492. Specifically, the government fails
     6 to address (1) why it would suffer irreparable prejudice if emergency relief is not
     7 granted and (2) whether it is without fault here.
     8                           a.    The Government Has Not Established Irreparable
     9                                 Prejudice.
   10                Devoid from the Application is an explanation as to how the government
   11 could possibly suffer irreparable prejudice if it is required to comply with a briefing
   12 schedule to which it stipulated. Complying with a Court Order plainly does not
   13 constitute irreparable prejudice, particularly where, as the government admits,
   14 Supplemental Rule G “does not mandate a stay of briefing on any dispositive
   15 motion pending a motion to strike.” App. at 9. Importantly, Supplemental Rule G
   16 only requires this Court to “decide” a motion to strike before ruling on a motion to
   17 dismiss—not to stay briefing on the motion to dismiss. Indeed, courts regularly
   18 have parties brief motions to strike and motions to dismiss at the same time, and
   19 then rule on the motion to strike first (often in the same decision). See, e.g., United
   20 States v. All Assets Held in Account No. XXXXXXXX, No. CV 13-1832 (JDB), 2020
   21 WL 3869733, at *3 (D.D.C. July 9, 2020) (internal citations omitted).
   22                            b.    The Application Seeks to Remedy a Problem of the
   23                                  Government’s Own Making.
   24                The government contends that Claimants lack standing to assert claims as to
   25 the Liened Assets, but Claimants informed the government of the precise basis for
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      counsel” and specifically advised the government that it would need to initiate
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      contact with “everyone who is a party to the attached stipulation and promise
   28 regarding the motion to dismiss briefing.” See Bernstein Decl., Exh. B.
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     1 their claims as to those assets in their administrative claims filed beginning in July
     2 2018 and in their verified claims in these now consolidated cases beginning in May
     3 2019. See, e.g., Bernstein Decl., Exh. C.2 As such, the government has had several
     4 years to assess the bases for Claimants’ claims as to the Liened Assets—not two
     5 weeks, as it wrongly contends in its Application.
     6               Moreover, through discovery in the related criminal case pending in the
     7 District of Arizona, the government seized copies of all the contracts and related
     8 documents underlying Claimants’ claims as to the Liened Assets more than two
     9 years ago. The government produced copies of those documents as discovery in its
   10 criminal case in May 2018, and also included those documents on its May 29, 2019,
   11 preliminary exhibit list for the criminal case; therefore, the government also had
   12 several years to examine all the documents underlying Claimants’ claims as to the
   13 Liened Assets. Bernstein Decl., Exh. D (excerpts from government’s exhibit list).
   14                At best, the government simply did not review Claimants’ claims as to the
   15 Liened Assets when they were filed nor the documents in its possession underlying
   16 those claims. At worst, the government knew it intended to bring a motion to strike
   17 those claims, yet stipulated to a briefing schedule as to Claimants’ motions to
   18 dismiss, only to move the Court for ex parte relief from that Court-ordered schedule,
   19
         2
   20       The relevant claims of the individual claimants as to the “Liened Assets” state:
         “Claimants are third-party beneficiaries of a series of contracts entered into in April
   21
         2015 among the Medalist subsidiaries and: Atlantische Bedrijven C.V. (“ABC”) and
   22    UGC Tech Group C.V. (“UGC”) (collectively, “Borrowers”); numerous affiliates of
         Borrowers, including Backpage.com, LLC (collectively, “Pledgors”); and Carl A.
   23
         Ferrer and other affiliates of Borrowers (collectively, “Guarantors”). Claimants
   24    have the right to advancement and indemnification from ABC and UGC under those
         agreements, which advancement and indemnification obligations are guaranteed by
   25
         Pledgors and Guarantors. Those obligations are secured by security interests in the
   26    assets of Pledgors (the “Collateral”). On information and belief, the Subject Funds
         are a part of the Collateral. On information and belief, the sums owed for
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         advancement and indemnification exceed the value of the Collateral.” Bernstein
   28    Decl., Exh. C.
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     1 just days before its response to the motions are due. Either way, the government has
     2 not come close to showing that it is without fault here. See Mission Power, 883 F.
     3 Supp. at 492. Far from it, the purported “crisis” the government complains about is
     4 one that is entirely of its own making.
     5               B.    The Government’s Application Also Fails on the Merits.
     6               There is simply no basis for the government to seek to delay responding to
     7 Claimants’ pending motions to dismiss until its yet-to-be-filed motion for partial
     8 summary judgment purportedly on standing grounds is filed, briefed, and decided.
     9 The government admits as much in its Application. See App. at 9 (noting that
   10 Supplemental Rule G “does not mandate a stay of briefing on any dispositive
   11 motion pending a motion to strike.”). Indeed, there is not even a “pending” motion
   12 to strike here. The government should not be permitted to avoid responding to duly-
   13 noticed motions to dismiss just by claiming it intends to file a motion to strike over
   14 a month from now. As this Court notes in its Standing Order, it “has a strong
   15 interest in keeping scheduled dates certain,” and last minute, avoidable continuances
   16 “[w]ithout . . . compelling factual support,” such as the one proposed by the
   17 government here, “are disfavored.” Further, the Standing Order notes that the
   18 failure to comply with the Local Rules “will result in rejection of the request without
   19 further notice to the parties.”
   20                The government also is wrong to assert that Claimants’ motions to dismiss
   21 “cannot be resolved prior to the determination of the government’s motion to
   22 strike.” App. at 9. The government filed numerous forfeiture proceedings against
   23 the personal assets of the Claimants (the Owned Assets), i.e., bank and brokerage
   24 accounts and real property owned by them personally or by their trusts, as to which
   25 their standing to assert claims is not reasonably in dispute.3 By the government’s
   26
         3
   27    For example, the government admits in the Complaint that the “John Brunst
      Assets” are bank or investment accounts “held in the name of Brunst” (or “held in
   28 the name of the ‘Brunst Family Trust’” with “Brunst and his wife [as] the sole
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     1 own allegations, the value of those bank and brokerage accounts exceeds $90
     2 million and, with the real estate, the Owned Assets likely exceed $100 million. The
     3 government admits that it “does not intend to seek to strike claims to purportedly
     4 ‘owned assets’ at this time.” App. at 5 n.2 (emphasis added). What possible basis
     5 then could the government have to delay responding to the motions to dismiss the
     6 civil forfeiture complaints relating to the Owned Assets? The government provides
     7 no basis in its Application and there is none.
     8               Importantly, each of the Claimants has rights to seek dismissal of the
     9 government’s respective cases as to given assets. The Court has consolidated the
   10 cases for pretrial purposes under Rule 42(a), but that is a “matter of convenience and
   11 economy in administration, [and] does not merge the suits into a single cause, or
   12 change the rights of the parties, or make those who are parties in one suit parties in
   13 another.” Enterprise Bank v. Saettelle, 21 F.3d 233, 235 (9th Cir. 1994) (quoting
   14 Johnson v. Manhattan Ry., 289 U.S. 479, 496–97 (1933)); accord Toyo Tire &
   15 Rubber Co., Ltd v. Wheel Grp. Holdings, LLC, 2016 WL 11525318, at *1 (C.D. Cal.
   16 Oct. 26, 2016). The government’s tactic here is to deny Claimants who admittedly
   17 have standing to contest the seizures of given assets their day in court, based on the
   18 government’s statement that it wants to challenge the standing of other claimants
   19 relating to other assets. The government cannot use the complexity it has created by
   20 its blanket “all assets” forfeiture proceedings to deny individual Claimant’s rights to
   21 obtain Rule 12(b)(6) dismissal of improper seizures.
   22                With respect to the Liened Assets, the government casts aspersions at the lien
   23 claims asserted by Claimants, characterizing them as “boilerplate information-and-
   24 belief assertions of nebulous security interests that fail to satisfy the requirements
   25 for standing under the law of this Circuit” (App. at 3), but cherry-picks a few
   26 sentences from the interrogatory responses of a small claimant on the periphery of
   27
   28 trustees for these accounts”). Dkt. 108 at ¶¶ 193, 195.
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     1 the proceedings, omitting both the broader context provided by the balance of that
     2 claimant’s interrogatory responses and, more importantly, the more fulsome
     3 description for the basis of the liens in the interrogatory responses of the entities that
     4 are parties to the contracts creating the liens. (The individual claimants are intended
     5 third-party beneficiaries of those contracts, rather than parties to them.) The
     6 interrogatory responses of the entities – parties to the contracts creating the liens –
     7 easily meet the requirements under Ninth Circuit law for stating the bases for their
     8 lien claims. See Bernstein Decl., Exh. E (excerpts from the entities’ interrogatory
     9 responses).
   10               Moreover, the individuals’ claims as to the Liened Assets and a portion of the
   11 entities’ claims as to the Liened Assets claims are premised, in part, on their
   12 contractual right to the advancement of legal defense costs—and the government
   13 previously stipulated to their entitlement to advancement in litigation in the
   14 Delaware Court of Chancery. In 2018, Claimants commenced an action in the Court
   15 of Chancery seeking to enforce their rights to advancement. Claimants’ 83-page
   16 amended complaint in that Court set out in great detail the bases for their right to
   17 advancement, identifying the specific provisions entitling them to advancement and
   18 quoting the pertinent language. Bernstein Decl., Exh. F. The Chancery Court
   19 permitted the government to intervene in that litigation as a defendant. Bernstein
   20 Decl., Exh. G. The government ultimately stipulated to a judgment, entered one
   21 year ago, establishing Claimants’ right to advancement on numerous grounds,
   22 including under the exact same contracts at issue here. Id. The government’s
   23 stipulation to a final judgment establishing Claimants’ rights to advancement belies
   24 its contention here that Claimants’ claims, premised in part on those same
   25 advancement rights, might be fairly questioned, much less be “false or frivolous.”
   26 App. at 8.4
   27
   28   4
            The government’s stated basis for its anticipated motion for partial summary
        3666361.2
                                                       9
                     CLAIMANTS’ OPPOSITION TO GOVERNMENT’S EX PARTE APPLICATION (DKT. 136)
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     1               For all of the government’s purported concerns about streamlining this case, it
     2 is certainly not “a poor use of the Court’s time and resources” (App. at 9) to resolve
     3 motions to dismiss as to more than $100 million in “Owned Assets” that were seized
     4 over two years ago and as to which the government has raised no questions about
     5 Claimants’ standing. There is no basis to forestall resolution of motions to dismiss
     6 as to assets with respect to which the government does not dispute Claimants’
     7 standing. And even if the government ultimately files a motion to strike certain
     8 other claims, the Court should not now allow the government to evade responding to
     9 Claimants’ motions to dismiss simply because the government says it intends move
   10 to strike only a subset of claims over a month from now.
   11 III.           CONCLUSION
   12                For the foregoing reasons, the Court should deny the government’s ex parte
   13 application and require it to comply with this Court’s prior order (Dkt. 119).
   14 DATED: August 19, 2020                  Respectfully submitted,
   15
                                              Gary S. Lincenberg
   16                                         Ariel A. Neuman
                                              Gopi K. Panchapakesan
   17
                                              BIRD, MARELLA, BOXER, WOLPERT, NESSIM,
   18                                         DROOKS, LINCENBERG & RHOW, P.C.
   19                                         By:         /s/ Gary S. Lincenberg
   20                                                           Gary S. Lincenberg
   21                                               Attorneys for John Brunst, Mary Ann Brunst,
                                                    and The Brunst Family Trust
   22
   23
   24 judgment is dubious. It does not contend that Claimants’ interrogatory responses
      are incomplete, nor has it sought to meet and confer regarding those responses.
   25
      Instead, it appears that the government contends that there are no set of facts under
   26 which Claimants have standing to assert claims as to the Liened Assets. If that is
      the case, then it begs the question of why the government waited until four days
   27
      before its responses to Claimants’ motions to dismiss are due to raise this purported
   28 issue with the Court.
         3666361.2
                                                        10
                      CLAIMANTS’ OPPOSITION TO GOVERNMENT’S EX PARTE APPLICATION (DKT. 136)
Case 2:18-cv-08420-RGK-JC Document 137 Filed 08/19/20 Page 16 of 17 Page ID #:1064




     1               Local Rule 5-4.3.4(a)(2)(i) Compliance: Filer attests that all other
     2 signatories listed concur in the filing’s content and have authorized this filing.
     3
         DATED: August 19, 2020                   Thomas H. Bienert, Jr.
     4                                            Whitney Z. Bernstein
                                                  BIENERT | KATZMAN PC
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     6                                            By:         /s/ Whitney Z. Bernstein
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                                                        Attorneys for James Larkin
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   12                                                               Paul J. Cambria, Jr.
   13                                                   Attorneys for Michael Lacey
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         DATED: August 19, 2020                   FREEMAN, MATHIS & GARY LLP
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   17                                             By:         /s/ John K. Rubiner
   18                                                               John K. Rubiner

   19                                             FEDER LAW OFFICE, PA
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                                                  By:         /s/ Bruce Feder
   21
                                                                    Bruce Feder
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                                                  Attorneys for Scott Spear
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                      CLAIMANTS’ OPPOSITION TO GOVERNMENT’S EX PARTE APPLICATION (DKT. 136)
Case 2:18-cv-08420-RGK-JC Document 137 Filed 08/19/20 Page 17 of 17 Page ID #:1065




     1 DATED: August 19, 2020                   WIECHERT, MUNK & GOLDSTEIN, PC
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     3                                                            David W. Wiechert
     4                                          DANIEL J. QUIGLEY, PLC
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                                                By:         /s/ Daniel J. Quigley
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                                                Attorneys for Medalist Holdings, Inc., Leeward
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                                                Holdings, LLC, Camarillo Holdings, LLC,
     9                                          Vermillion Holdings, LLC, Cereus Properties,
                                                LLC, Shearwater Investments, LLC, and
   10
                                                Broadway Capital Corp., LLC
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                     CLAIMANTS’ OPPOSITION TO GOVERNMENT’S EX PARTE APPLICATION (DKT. 136)
